Case 2:19-cv-18327-JXN-JSA Document 36 Filed 08/17/21 Page 1 of 1 PageID: 566

                  IAWRENCEN. IAVIGNE, ESQ., L.L.C.
                                     2444 Morris Avenue, Suite 206
                                       Union, New Jersey 07083
                                       Telephone (908) 687-7750
                                        Telefax (908) 687-7752
                                   E-Mail: Larry@LNLavigneLaw.com
                                      Website: LNLavigneLaw.com
 Lawrence N. Lavigne*                                                         *Certified by the New Jersey
   Admitted in NJ. & N.Y                                                         Supreme Court as a
                                                                                  Civil Trial Attorney
  JigneshJ. Shah                            August 17, 2021
     Of Counsel

Via e;_fi/ing
Hon. Julien Xavier Neals, U.S.D.J
MLK Jr. Federal Bldg. & U.S Courthouse
50 Walnut Street
Newark, New Jersey 07102

        Re:       Rontez Miles v National Football League
                  Civ Action No. 2:19-cv-18327 (CCC-MF)

Dear Judge Neals:
        The undersigned represents PlaintiffRontez Miles in the above-referenced matter. We
are in receipt of Richard Hernandez's correspondence of even date requesting that Defendant's
Motion to Dismiss the Complaint be restored to active consideration by the Court.
        Plaintiff contends that there has been a very recent opinion by the New Jersey Supreme
Court which directly impacts certain aspects of the NFL' s motion. See Richter v Oakland Board
ofEducation, 240 N.J 58 (2021). Plaintiff had included citation to the Appellate Division
decision in his opposition to the motion.
        Additionally, while there has been no discovery in this matter, Plaintiff has obtained a
significant body of evidence which directly undermines the NFL' s argument in support of its
motion. Plaintiff respectfully requests leave to file a supplemental brief in opposition to the
motion.
        By copy of this letter I am advising my adversary of our request.
        We await Your Honor's direction on this issue ..
                  Your Honor's consideration is greatly appreciated.




                                               ~nur.ence N. Lavigne
                                                                   Q-----
        CC: All Counsel of Record via e-filinf!                                             .
              Monmouth County Office: 710'Tenh'.ent Road, Suite 101 • Manalapan, 1'{J 07726
